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                                                          7
                                                               Attorneys for Plaintiff
                                                          8    Courtney Imrie
                                                          9
                                                                                            UNITED STATES DISTRICT COURT
                                                         10
                                                                                                    DISTRICT OF NEVADA
                                                         11

                                                         12
                                                               COURTNEY IMRIE,                                        Case No.: 2:19-cv-01556-GMN-BNW
              Tel. (702) 258-1183 ♦ Fax (702) 258-6983




                                                         13
                                                                                     Plaintiff,
                   7435 W. Azure Drive, Suite 110
                    LAS VEGAS, NEVADA 89130




                                                         14          vs.                                              JOINT STIPULATION AND REQUEST TO
KEMP & KEMP
                       ATTORNEYS AT LAW




                                                                                                                      STAY PROCEEDINGS PENDING
                                                         15    HACHIMAN, LLC, a domestic limited                      RESOLUTION
                                                         16    liability company; and, PALOMINO CLUB, a
                                                               domestic limited liability company,                    (First Request)
                                                         17
                                                                                     Defendants.
                                                         18

                                                         19           Pursuant to Local Rules IA 6-1, 6-2, and LR 7-1, Plaintiff Courtney Imrie (“Plaintiff”) and

                                                         20    Defendants Hachiman, LLC and Palomino Club, LLC (collectively the “Defendants”), by and
                                                         21
                                                               through their respective counsel of record, hereby stipulate and request that this Court stay the above-
                                                         22
                                                               captioned case for one-hundred eighty days (180) days, up to and including June 16, 2021. This
                                                         23
                                                               Request for a stay is not sought for any improper purpose or other purpose of delay. Rather, it is
                                                         24

                                                         25    sought only to conserve the parties’ and court’s respective resources while the parties work on

                                                         26    completing a structured settlement. In support of this Stipulation and Request, the parties state as
                                                         27    follows:
                                                         28

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                                                          1             1.        Pursuant to the Stipulated Discovery Plan and Scheduling Order approved by the
                                                          2    Court on October 19, 2020, and the parties’ fourth request for an extension of discovery and related
                                                          3
                                                               deadlines, approved by the Court on October 20, 2020 the current deadline for completion of
                                                          4
                                                               discovery in this case is January 11, 2021. ECF No. 28.
                                                          5

                                                          6             2.        In the fourth request for an extension of the discovery period, the parties informed the

                                                          7    Court they were working on resolving this matter before investing additional resources in taking

                                                          8    depositions and summary judgment practice . Id. Since that time, the parties have worked amicably,
                                                          9
                                                               diligently, and creatively to achieve a resolution acceptable to each.
                                                         10
                                                                        3.        On December 17, 2020, the parties reached a settlement in theory and are moving
                                                         11
                                                               forward with drafting the settlement agreement. The settlement is structured and the parties
                                                         12
                                                               anticipate that it will take approximately six-months to complete. 1
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                                                         13
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KEMP & KEMP
                       ATTORNEYS AT LAW




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                                                         27    1 If the Court requests further information regarding the parties’ settlement efforts, the parties are willing to file a
                                                               confidential supplement for in camera review.
                                                         28

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                                                          1    WHEREFORE, the parties respectfully request that this Court stay this matter for one-hundred
                                                          2    eighty days (180) days, up to and including June 16, 2021.
                                                          3
                                                                      DATED this 18th day of December 2020.
                                                          4
                                                                      Respectfully submitted,
                                                          5

                                                          6           KEMP AND KEMP                                         KAMER ZUCKER ABBOTT
                                                          7
                                                               By:    __/s/ Victoria L. Neal___________                     By:     _/s/ Dare E. Heisterman _
                                                          8           James P. Kemp, Esq., #6375                            R. Todd CreerEsq., #10016
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                                                                      Fax: (702) 258-6983                                   Fax: (702) 259-8646
                                                         11
                                                                      Attorneys for Plaintiff                               Attorneys for Defendants
                                                         12           Courtney Imrie                                        Hachiman, LLC and
                                                                                                                            Palomino Club, LLC
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                                                         13
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                                                         14
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                       ATTORNEYS AT LAW




                                                         15

                                                         16                                            IT IS SO ORDERED.
                                                         17

                                                         18                                                        11 day of January, 2021.
                                                                                                       Dated this ____

                                                         19
                                                         20                                            ___________________________
                                                         21                                            Gloria M. Navarro, District Judge
                                                                                                       UNITED STATES DISTRICT COURT
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